
599 S.E.2d 42 (2004)
358 N.C. 543
In the Matter of D.S. DOB: 9-19-87; S.S. DOB: 2-8-89; J.S. DOB: 7-6-90; A.S. DOB: 2-7-92.
No. 81P04.
Supreme Court of North Carolina.
June 24, 2004.
Robert W. Ewing, Winston-Salem, for Crystal Shepard.
Theresa Boucher, Assistant County Attorney, for Forsyth County DSS.
Jason B. Buckland, Winston-Salem, for Guardian ad Litem.

ORDER
Upon consideration of the petition filed on the 24th day of February 2004 by Respondent (Crystal Shepard) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 24th day of June 2004."
